               EXHIBIT 1




Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 1 of 12 PageID #: 5
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 2 of 12 PageID #: 6
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 3 of 12 PageID #: 7
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 4 of 12 PageID #: 8
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 5 of 12 PageID #: 9
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 6 of 12 PageID #: 10
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 7 of 12 PageID #: 11
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 8 of 12 PageID #: 12
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 9 of 12 PageID #: 13
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 10 of 12 PageID #: 14
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 11 of 12 PageID #: 15
Case 3:22-cv-00654 Document 1-1 Filed 08/23/22 Page 12 of 12 PageID #: 16
